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                                IN THE UNITED STATES BANKRUPTCY COURT

                                           FOR THE DISTRICT OF DELAWAR
In re:                                                             )       Chapter 11
                                                                   )
W. R. GRACE & CO., et aLl                                          )       Case No. 01-01139 (JK)
                                                                   )
                                   Debtors.                        )       (Jointly Administered)
                                                                   )


    ORDER DISALLOWING PROOF OF CLAIM NOS. 9159 AND 9168 TO THE EXTENT
    THEY ASSERT POST-PETITION INTEREST AT THE CONTRACT DEFAULT RATE

                       Upon the Debtors' Obj ection to the Unsecured Claims Asserted Under the

Debtors' Credit Agreements Dated as of May 14, 1998 and May 5, 1999 (the "Objection")

seeking entr of an order disallowing proofs of claim nos. 9159 and 9168 to the extent that they

assert post-petition interest at the contract default rate in the 1998 and 1999 Credit Agreements2

(collectively, the "Claims"); and due and proper notice of                      the Objection having been given; and

all interested parties having been afforded an opportnity to be heard with reS1)eGt to the

      The Debtors consist of the followig 62 entities: W. R. Grace & Co. (f/a Grace Specialty Chemicals, Inc.),
      W. R. Grace & Co. Conn., A-I Bit & Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corporation, Amicon,
      Inc., CB Biomedical, Inc. (f/a Circe Biomedical, Inc.), CCHP, Inc., Coalgrace, Inc., Coalgrace II, Inc.,
      Creative Food 'N Fun Company, Darex Puerto Rico, Inc., Del Taco Restaurants, Inc., Dewey and Almy, LLC
      (f/a Dewey and Almy Company), Ecarg, Inc., Five Alewife Boston Ltd., GC Limted Parters I, Inc., (f/a
      Grace Cocoa Limted Parters I, Inc.), GC Management, Inc. (f/a Grace Cocoa Management, Inc.), GEC
      Management Corporation, GN Holdings, Inc. GPC Thomasvile Corp., Gloucester New Communties
      Company, Inc., Grace A-B Inc., Grace A-B II      Inc., Grace Chemical Company of Cuba, Grace Culinary
      Systems, Inc., Grace Drilling Company, Grace Energy Corporation, Grace Environmental, Inc., Grace Europe,
      Inc., Grace H-G Inc., Grace H-G II Inc., Grace Hotel Services Corporation, Grace International Holdings, Inc.
      (f/a Dearborn International Holdings, Inc.), Grace Offshore Company, Grace PAR Corporation, Grace
      Petroleum Libya Incorporated, Grace Taron Investors, Inc., Grace Ventues Corp., Grace Washington, Inc., W.
      R. Grace Capital Corporation., W. R. Grace Land Corporation, Gracoal, Inc., Gracoal II, Inc., Guanca-Caribe
      Land Development Corporation, Hanover Square Corporation, Homco International, Inc., Kootenai
      Development Company, L B Realty, Inc., Litigation Management, Inc. (f/a GHSC Holding, Inc., Grace JV,
      Inc., Asbestos Management, Inc.), Monolith Enterprises, Incorporated, Monroe Street, Inc., MR Holdings
      Corp. (f/a Nestor-BNA Holdings Corporation), MR Intermedco, Inc. (F/ka Nestor-BNA, Inc.), MR
      Staffing Systems, Inc. (f/a British Nursing Association, Inc.), Remedium Group, Inc. (f/a Environmental
      Liability Management, Inc., E&C Liquidatig Corp., Emerson & Curg, Inc.), Southern Oil, Resin &
      Fiberglass, Inc., Water Street Corporation, Axial Basin Ranch Company, CC Parters (f/a Cross Countr
      Staffing), Hayden-Gulch West Coal Company, H-G Coal Company.

2     Capitalized term not defined herein shall have the meanig set fort in the Objection.



K&E 129811;29.1
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    Objection and all relief related thereto; and it appearing that the Cour has jursdiction over this

    matter; and upon consideration of the matters set fort herein; and after due deliberation thereon;

    and good cause appearng therefor, it is hereby

                            ORDERED that the Objection is sustained; and it is furter

                            ORDERED that the Lenders are not entitled to post-petition interest at the

    contract default rate in the 1998 and 1998 Credit Agreements; and it is fuher

                            ORDERED that the Claims are disallowed to the extent they seek post-petition

    interest at the contract default rate in the 1998 and 1999 Credit Agreements; and it is fuher

                            ORDERED that the Lenders may amend their Claims consistent with the relief

    ordered herein; and it is further

                            ORDERED that this Cour shall retain jursdiction to hear and determine all

    matters arsing from the implementation of                this Order.



    Pittsburgh, Pennsylvania
    Dated:                                      , 2008


/
                                                                              Honorable Judith K. Fitzgerald
                                                                              United States Banptcy Judge




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    K&E 12981129.1
